                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA


 UNITED STATES OF AMERICA                         )
                                                  )
                                                  )            No. 1:04-CR-138
 v.                                               )
                                                  )            Judge Curtis L. Collier
                                                  )
 JOSEPH SWAFFORD and                              )
 JES, INC. d/b/a BROADWAY HOME                    )
 AND GARDEN CENTER                                )


                                             ORDER

        Defendant JES, Inc. (“Defendant”) has filed a motion for continuance of trial (Court File No.

 101) requesting the Court change the trial date, currently set for February 21, 2006, because

 Defendant’s counsel is scheduled to appear in the United States District Court for the Western

 District of Tennessee for a sentencing hearing on February 22, 2006. Defendant’s counsel asserts

 a failure to grant a continuance would unreasonably deny Defendant’s continuity of counsel. The

 Government has not responded to this motion.

        The Court sees no reason to continue the trial to allow for this court appearance. The Court

 DENIES Defendant’s motion for continuance of trial (Court File No. 101). The Court will begin

 the trial at 9:00 a.m. on Tuesday, February 21, 2006 as previously scheduled, and will take a one-day

 recess in the trial on Wednesday, February 22, 2006 to accommodate Defendant’s counsel.


        SO ORDERED.

        ENTER:

                                               /s/
                                               CURTIS L. COLLIER
                                               CHIEF UNITED STATES DISTRICT JUDGE



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